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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

IN RE: TERRORIST ATTACKS ON
SEPTEMBER 11, 2001

This document relates to:
03 CV 9849 (GBD)
03 CV 6978 (GBD)

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03 MDL 1570 (GBD)

Defendant DMI Administrative Services $.A.’s motion to withdraw its previously filed

motions to dismiss the complaints, in Burnett v. Al Baraka Inv. & Dev. Corp., 03 CV 9849

(GBD) and Federal Ins. Co. v. AI Qaida, 03 CV 6978 (GBD), is granted.'

Accordingly, the Clerk of the Court is directed to remove the defendant’s motions to

dismiss, designated on the docket sheet as documents 94 and 499, from the pending motion list.

Dated: New York, New York
August 6, 2007

SO ORDERED:

bey, 8. Donk

GEQRGE B. DANIELS
United States District Judge

' The motion to withdraw is recorded on the docket sheet as document 1151.

